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 1   MORRISON & FOERSTER LLP
     MICHAEL A. JACOBS (Bar No. 111664)
 2   mjacobs@mofo.com
     MARC DAVID PETERS (Bar No. 211725)
 3   mdpeters@mofo.com
     DANIEL P. MUINO (Bar No. 209624)
 4   dmuino@mofo.com
     755 Page Mill Road
 5   Palo Alto, CA 94304-1018
     Telephone: (650) 813-5600 / Facsimile: (650) 494-0792
 6
     BOIES, SCHILLER & FLEXNER LLP
 7   DAVID BOIES (Admitted Pro Hac Vice)
     dboies@bsfllp.com
 8   333 Main Street
     Armonk, NY 10504
 9   Telephone: (914) 749-8200 / Facsimile: (914) 749-8300
     STEVEN C. HOLTZMAN (Bar No. 144177)
10   sholtzman@bsfllp.com
     1999 Harrison St., Suite 900
11   Oakland, CA 94612
     Telephone: (510) 874-1000 / Facsimile: (510) 874-1460
12
     ORACLE CORPORATION
13   DORIAN DALEY (Bar No. 129049)
     dorian.daley@oracle.com
14   DEBORAH K. MILLER (Bar No. 95527)
     deborah.miller@oracle.com
15   MATTHEW M. SARBORARIA (Bar No. 211600)
     matthew.sarboraria@oracle.com
16   500 Oracle Parkway
     Redwood City, CA 94065
17   Telephone: (650) 506-5200 / Facsimile: (650) 506-7114
18   Attorneys for Plaintiff
     ORACLE AMERICA, INC.
19

20                                   UNITED STATES DISTRICT COURT

21                              NORTHERN DISTRICT OF CALIFORNIA

22                                      SAN FRANCISCO DIVISION

23   ORACLE AMERICA, INC.                                  Case No. CV 10-03561 WHA
24                      Plaintiff,                         [PROPOSED] ORDER GRANTING
                                                           MOTION TO RELIEVE RICHARD
25          v.                                             S. BALLINGER AS COUNSEL OF
                                                           RECORD FOR ORACLE AMERICA,
26   GOOGLE INC.                                           INC. PURSUANT TO L.R. 11-5
27                      Defendant.                         Dept.: Courtroom 9, 19th Floor
                                                           Judge: Honorable William H. Alsup
28
     [PROPOSED] ORDER GRANTING MTN TO RELIEVE R.S. BALLINGER AS COUNSEL FOR ORACLE AMERICA, INC.
     CASE NO. CV 10-03561 WHA
     pa-1461003
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 1           Pursuant to Civil Local Rule 11-5, the Court hereby GRANTS Plaintiff’s motion to
 2   relieve Richard S. Ballinger as counsel of Record. Mr. Ballinger is removed from the parties’ and
 3   the Court’s list of counsel in this action.
 4           Oracle’s counsel of record otherwise remains unchanged.
 5
             April 26
     Dated: _______________, 2011
 6                                                         Honorable William H. Alsup
                                                         United States District Court Judge
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     [PROPOSED] ORDER GRANTING MTN TO RELIEVE R.S. BALLINGER AS COUNSEL FOR ORACLE AMERICA, INC.    1
     CASE NO. CV 10-03561 WHA
     pa-1461003
